                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

ARAB AMERICAN CIVIL RIGHTS
LEAGUE, et al.,

      Plaintiffs,
v.                                              Case No. 17-10310
                                                Honorable Victoria A. Roberts
DONALD TRUMP, et al.,

     Defendants.
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               ORDER GRANTING DEFENDANTS’ MOTION FOR STAY
               PENDING SUPREME COURT PROCEEDINGS [Doc. 105]

I.    INTRODUCTION and BACKGROUND

      This case is one of many challenging the constitutionality of President Trump’s

Executive Order No. 13780, titled “Protecting the Nation from Foreign Terrorist Entry

Into the United States,” 82 Fed. Reg. 13209 (Mar. 6, 2017) (the “Executive Order”).

      On May 25, 2017, in a case presenting a similar challenge to the Executive

Order, the Fourth Circuit upheld a Maryland District Court’s nationwide preliminary

injunction prohibiting enforcement of § 2(c) of the Executive Order – which temporarily

suspended entry into the United States of nationals from six predominately Muslim

countries. See Int’l Refugee Assistance Project v. Trump, 17-1351, --- F.3d ---, 2017

WL 2273306 (4th Cir. May 25, 2017), as amended (May 31, 2017) (“IRAP”). On June 1,

2017, the government filed a petition for certiorari in IRAP, and the Supreme Court

ordered an expedited response due June 12, 2017.

      Defendants move for a stay of these proceedings pending the Supreme Court’s

consideration of the decision in IRAP. [Doc. 105]. Plaintiffs oppose the stay.
        The Court GRANTS Defendants’ motion for stay [Doc. 105].

II.     ANALYSIS

        The Court “has broad discretion to stay proceedings as an incident to its power to

control its own docket,” Clinton v. Jones, 520 U.S. 681, 706 (1997), and in considering

the “economy of time and effort for itself, for counsel and for litigants,” Landis v. N. Am.

Co., 299 U.S. 248, 254 (1936). This power applies “especially in cases of extraordinary

public moment,” where “a plaintiff may be required to submit to delay not immoderate in

extent and not oppressive in its consequences if the public welfare or convenience will

thereby be promoted.” Clinton, 520 U.S. at 707 (citation and internal quotation marks

omitted). However, the Court “must tread carefully in granting a stay of proceedings,

since a party has a right to a determination of its rights and liabilities without undue

delay.” Ohio Envtl. Council v. U.S. Dist. Court, S. Dist. of Ohio, E. Div., 565 F.2d 393,

396 (6th Cir. 1977). “The proponent of a stay bears the burden of establishing its need.”

Clinton, 520 U.S. at 708.

        In determining whether to stay proceedings pending “another case’s imminent

disposition,” the Court considers four factors: “[1] the potential dispositive effect of the

other case, [2] judicial economy achieved by awaiting adjudication of the other case, [3]

the public welfare, and [4] the relative hardships to the parties created by withholding

judgment.” Caspar v. Snyder, 77 F. Supp. 3d 616, 644 (E.D. Mich. 2015). The parties

do not address the “public welfare” factor, and neither does the Court. However, the

remaining three factors weigh in favor of a stay pending the Supreme Court’s review in

IRAP.




                                              2
       A.      Potential Dispositive Effect of Supreme Court Review in IRAP; and
               Judicial Economy Achieved by Staying the Proceedings

       Although Plaintiffs are correct that the Supreme Court’s review in IRAP will likely

not be fully dispositive of this case, it is sufficient that those proceedings will likely “settle

many” issues and “simplify them all,” Landis, 299 U.S. at 256, such that a stay will

“foster efficiency and conservation of resources for both the parties and the court.”

Fairview Hosp. v. Leavitt, No. 05-1065, 2007 WL 1521233, at *3 (D.D.C. May 22, 2007)

(granting a stay pending the resolution of another case that “would not foreclose the

necessity of litigation in [the stayed] case,” but would likely settle some issues and

simplify others).

       Any decision by the Supreme Court will be particularly relevant to – and likely

controlling of – this Court’s disposition of a pending motion to dismiss and pending

motion to compel. It would also provide guidance regarding the appropriate scope of

discovery, and may help to resolve anticipated disputes related to Plaintiffs’ outstanding

discovery requests. Specifically, a decision should provide the legal standard for

reviewing the Executive Order under the Establishment Clause, and should answer

whether Kleindienst v. Mandel, 408 U.S. 753 (1972), limits review to the four corners of

the order. If the Supreme Court holds that Mandel limits review to the face of the

Executive Order, most – if not all – of Plaintiffs’ current discovery requests would

become irrelevant. On the other hand, if the Supreme Court concludes that review is

not limited to the four corners of the Executive Order, then Plaintiffs’ discovery requests

concerning pre-inauguration evidence (e.g., statements made by Candidate Trump,

documents prepared related to the so-called Muslim ban, etc.) may be highly relevant.

A Supreme Court decision in IRAP will guide, if not control, the Court’s disposition of

                                                3
both pending and upcoming issues. Accordingly, a stay is warranted to conserve the

resources of the parties and the Court.

       Plaintiffs argue that Defendants do not establish that there is a “significant

possibility that the Supreme Court [will] reverse the judgment below,” see United States

v. Mandycz, 321 F. Supp. 2d 862, 864 (E.D. Mich. 2004). However, this does not

prevent the Court from entering a stay. In determining whether the Executive Order

likely violated the Establishment Clause, the Fourth Circuit applied a standard set forth

in Justice Kennedy’s concurrence in Kerry v. Din, --- U.S. ---, 135 S. Ct. 2128, 2140-41

(2015). See IRAP, 2017 WL 2273306, at *16-18. Although the Fourth Circuit’s use of,

and analysis under, that standard was well reasoned and sound, the legal standard is

not well settled. The Supreme Court is likely to address the standard used by the

Fourth Circuit and settle a question of law – i.e., the correct legal standard to use in

reviewing the Executive Order under the Establishment Clause. Such guidance by the

Supreme Court will simplify these proceedings. See Landis, 299 U.S. at 256.

       Defendants sufficiently demonstrate that the dispositive effect of the Supreme

Court’s review in IRAP and the judicial economy achieved by awaiting that review weigh

in favor of granting a stay.

       B.     Relative Hardships to the Parties if Proceedings are Stayed

       Plaintiffs say any review by the Supreme Court would likely take at least six

months, and that such a lengthy stay would prejudice them by: (1) severely delaying

their case; (2) preventing them from securing the evidence they need to proceed; and

(3) increasing the risk that relevant evidence is lost or that Defendants or third parties

fail to preserve relevant evidence.



                                              4
       Defendants say that allowing Plaintiffs to proceed with their “novel and highly

burdensome discovery” would prejudice them if the Supreme Court finds that Mandel

limits review to the four corners of the Executive Order. They further say that the

discovery sought by Plaintiffs raises complicated executive privilege issues, and that

because the Supreme Court’s decision will likely provide guidance on the scope and

necessity of such discovery, a stay is warranted.

       Although a stay will delay these proceedings, the Court finds that potential

prejudice to Plaintiffs is less drastic than they set forth. The Supreme Court is

expediting its decision on Defendants’ petition for certiorari. Regardless of the length of

stay, because the Fourth Circuit upheld the nationwide injunction of the Executive

Order, Plaintiffs’ interests are protected. Should circumstances change during the

duration of the stay, Plaintiffs may move to lift the stay or for other appropriate relief.

       In addition, based on the voluminous filings and issues raised in relation to

Plaintiffs’ pending motion to compel – which pertains only to one document request

seeking a single document – it is clear that resolution of disputes related to Plaintiffs’

“limited” discovery requests will require significant resources on behalf of the parties

and the Court. Requiring the parties and the Court to devote time and resources to

resolve these matters during the appeal in IRAP would not be economical, because the

Supreme Court’s decision will be significantly relevant to, and possibly control, the

Court’s consideration of issues raised in this suit. See Landis, 299 U.S. at 254, 256.

This is especially true based on the nature of the case and type of discovery sought.

       Because of the “high respect” owed to the Executive, a stay is warranted to

protect Defendants from the burden of resource intensive discovery during the



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pendency of the Supreme Court review in IRAP, particularly since a stay will not greatly

prejudice Plaintiffs. See Cheney v. U.S. Dist. Court for D.C., 542 U.S. 367, 385 (2004)

(“‘[T]he high respect that is owed to the office of the Chief Executive ... is a matter that

should inform the conduct of the entire proceeding, including the timing and scope of

discovery,’ and … the Executive’s ‘constitutional responsibilities and status are factors

counseling judicial deference and restraint’ in the conduct of litigation against it.”

(internal citations omitted)).

       Finally, the Court believes that steps can be taken to alleviate Plaintiffs’ concerns

regarding preservation of relevant evidence. There is both a common law obligation

and a duty under the Federal Rules of Civil Procedure for parties to preserve

information in their possession, custody, or control that may be relevant to pending

litigation. Here, Defendants’ duty extends to evidence that predates January 20, 2017,

and, although the individual Defendants were sued in their official capacity, their duty

extends to information created, received or maintained in their personal capacities. The

parties must discuss the scope of discovery and preservation efforts during their

upcoming Rule 26(f) conference, which they must hold prior to June 23, 2017.

       To alleviate Plaintiffs’ concerns about their need to obtain information and

preserve evidence from third parties, the Court suggests that they send preservation

letters to the third parties at issue. If Plaintiffs are concerned that this does not resolve

the issue of third-party evidentiary preservation, they may move for a limited

modification of the stay order, as explained in the Conclusion, below.

       The relative hardships to the parties created by withholding judgment weighs in

favor of staying these proceedings pending Supreme Court review in IRAP.



                                              6
III.   CONCLUSION

       Defendants’ motion for a stay pending Supreme Court proceedings [Doc. 105] is

GRANTED, and this case is STAYED until two weeks after the “final action” (i.e., denial

of certiorari or a decision/opinion on the merits) by the Supreme Court in IRAP, with the

following limitations and conditions:

       1. The parties must conduct a Rule 26(f) conference by June 23, 2017;

       2. Defendants must preserve information in their possession, custody, or
          control – in both their official and personal capacities – that may be
          relevant to pending litigation, including information that predates
          January 20, 2017. The parties must discuss the scope of discovery
          and preservation efforts during their Rule 26(f) conference.

       3. Plaintiffs may send preservation letters to third parties to notify them of
          the litigation and to request that they preserve any potentially relevant
          evidence. If this does not alleviate Plaintiffs’ concerns regarding third-
          party evidentiary preservation, Plaintiffs may move for a limited
          modification of this stay to allow them to issue subpoenas to third
          parties. If any such motion is granted, the third party would not be
          required to produce discovery, or respond to the subpoena, until the
          stay is fully lifted;

       4. Any party may move to lift the stay, or for other appropriate relief, if
          circumstances change prior to the “final action” by the Supreme Court
          in IRAP;

       5. The parties must file a joint statement proposing the schedule for any
          further proceedings within seven days after the “final action” by the
          Supreme Court in IRAP;

       6. The joint statement should take into consideration any impact the
          Supreme Court’s opinion in IRAP has on Plaintiffs’ outstanding
          discovery requests and the pending motions to dismiss and compel.
          Specifically, if the Supreme Court issues an opinion, arguments made
          in support of and in opposition to the motions to dismiss and/or compel
          may no longer be relevant; if that is the case, the Court would be
          inclined to strike the pending motions and have the parties re-file them,
          if necessary, using the appropriate standard(s) set forth by the
          Supreme Court. The parties should contemplate this when filing the
          joint statement;



                                             7
      7. The joint statement should include the dates that Defendants’
         responses to Plaintiffs’ discovery requests are due, if those discovery
         requests are still relevant; and

      8. The June 13 hearing on Defendants’ motion to dismiss is cancelled.

      IT IS ORDERED.
                                               s/Victoria A. Roberts
                                               Victoria A. Roberts
                                               United States District Judge
Dated: June 9, 2017




                                           8
